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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________
LLC ENERGOALLIANCE,

                  Petitioner,                       Case No. 14-cv-01921 (CRC)

             v.

REPUBLIC OF MOLDOVA,

             Respondent.
____________________________________


                                        Notice of Appeal

       PLEASE TAKE NOTICE that Respondent REPUBLIC OF MOLDOVA hereby appeals

to the United States Court of Appeals for the District of Columbia Circuit from the District

Court's Decision and Final Order entered on August 23, 2019 (Dkt. 59, 60) granting Petition to

Confirm Foreign Arbitral Award and denying Respondent Republic of Moldova’s Renewed

Motion to Dismiss, and all previous orders and judgments that are merged into that Decision and

Order, including but not limited to the Order entered on November 13, 2018 (Dkt. 42) granting

the granting Petitioner's Motion to Lift Stay and denying Respondent's Motion to Extend Stay.


DATED: August 30, 2019                       s/ Arkady Bukh, Esq.
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